Case 3:25-cv-00821-SRU Document13 Filed 06/09/25 Pagelof1

OFFICER’S RETURN

STATE OF CONNECTICUT
ss: Hartford, June 2, 2025
COUNTY OF HARTFORD

Then and there by virtue hereof, on June 2, 2025, | served the within named defendant,
Yale New Haven Health System, by leaving a true and attested copy of original SUMMONS
IN A CIVIL CASE, CLASS ACTION COMPLAINT, NOTICE OF ELECTRONIC FILING,
ORDER ON PRETRIAL DEADLINES, ELECTRONIC FILING ORDER, STANDING
PROTECTIVE ORDER, EXHIBIT A AND NOTICE OF OPTION TO CONSENT TO
MAGISTRATE JUDGE JURISDICTION, with and in the hands of its Agent for Service, Deneen
L. Seifel, Corporation Service Company, Goodwin Square, 225 Asylum Street, 20" Floor,

Hartford, CT 06103, with my endorsements thereon.

The within and foregoing is original SUMMONS IN A CIVIL CASE, CLASS
ACTION COMPLAINT, NOTICE OF ELECTRONIC FILING, ORDER ON PRETRIAL
DEADLINES, ELECTRONIC FILING ORDER, STANDING PROTECTIVE ORDER,
EXHIBIT A AND NOTICE OF OPTION TO CONSENT TO MAGISTRATE JUDGE
JURISDICTION, with my doings hereon endorsed.

TATE MARSHAL
HARTFORD COUNTY

Case No: 3:25-CV-00821-SRU
Fees:

Service Fee $50.00

Copy 48.00
Endorsements 1.50
Travel 22.00

$ 121.50
